     Case 3:12-cv-00489-MMD-CLB Document 121 Filed 11/01/21 Page 1 of 1


1

2

3                              UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6      STEVEN M. KINFORD,                                Case No. 3:12-cv-00489-MMD-CLB

7                                   Petitioner,                     ORDER
             v.
8
       BRIAN E. WILLIAMS, et al.,
9
                               Respondents.
10

11

12          Good cause appearing, it is hereby ordered that Petitioner Steven Kinford’s

13    unopposed second motion for enlargement of time (ECF No. 120) is granted. Kinford has

14    until December 6, 2021, to file his reply in support of his second amended petition (ECF

15    No. 84).

16          DATED THIS 1st Day of November 2021.

17

18

19                                                MIRANDA M. DU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
20
21

22

23

24

25

26

27
28
